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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

APRIL RAGLAND,                                )
                                              )
               PLAINTIFF,                     )
                                              )      Civil Action No. 17-cv-06367
               v.                             )
                                              )      Hon. Robert M. Dow
HUNTER WARFIELD, INC.,                        )
                                              )      Magistrate Judge Maria Valdez
                                              )
               DEFENDANT.                     )

                                 NOTICE OF SETTLEMENT


       PLEASE TAKE NOTICE, that the above referenced matter has been resolved between

the parties pending the exchange and approval of final settlement papers. Plaintiff respectfully

requests that the Court retain continuing jurisdiction over this matter pending the prompt filing of

a Stipulation/Notice of Dismissal with Prejudice herein.

Dated: October 10, 2017

                                                                     Respectfully submitted,

                                                                     By: /s/Celetha C. Chatman

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                                     CERTIFICATE OF SERVICE

        I, Celetha Chatman, an attorney, hereby certify that on October 10, 2017, I electronically

filed the foregoing document using the CM/ECF system, which will send notification of such

filing to all attorneys of record.


 Dated: October 10, 2017                                                     Respectfully submitted,


                                                                       By:      /s/ Celetha Chatman
